            Case 1:19-cv-04228-KNF Document 46 Filed 11/09/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
KIRAN VUPPALA,                                                           :

                              Plaintiff,                                   :
                                                                                    ORDER
                    -against-                                              :
                                                                               19-CV-04228 (KNF)
HAWKINS NEW YORK, LLC., a New York limited                             :
liability company, d/b/a HAWKINS NEW YORK, and
ANGELA KUEKEN, as trustee,                                                 :

                              Defendants.                                :
-----------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

          A telephone conference will be held with the parties on November 10, 2020, at 2:45 p.m.

The parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532. Please be

advised that a court reporter will attend the conference via telephone.

Dated: New York, New York                                             SO ORDERED:
       November 6, 2020
